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                 IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION


DARLA FERGUSON                                                       PETITIONER


                            No. 4:25-cv-00514 JM/PSH


CITY OF CLINTON                                                     RESPONDENT


             PROPOSED FINDINGS AND RECOMMENDATION

                                 INSTRUCTIONS

      The following Recommendation has been sent to United States District Judge

James M. Moody, Jr.       You may file written objections to all or part of this

Recommendation. If you do so, those objections must: (1) specifically explain the

factual and/or legal basis for your objection; and (2) be received by the Clerk of this

Court within fourteen (14) days of this Recommendation. By not objecting, you may

waive the right to appeal questions of fact.
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                                      DISPOSITION


       Petitioner Darla Ferguson (“Ferguson”) filed a petition for writ of habeas

corpus and an application to proceed in forma pauperis on May 27, 2025. Doc. Nos.

1 & 2. Because Ferguson’s motion to proceed in forma pauperis did not include

sufficient information, the Court denied it without prejudice in a June 3 order, and

directed her to file a new motion to proceed in forma pauperis. See Doc. No. 3. The

Court also notified Ferguson that her petition was inadequate, 1 and directed her to

file an amended petition within thirty days. Id. Finally, the Court notified Ferguson

of her duty to comply with Local Rule 5.5(c)(2), which requires her to respond to

communication from the Court within thirty days, and that failure to timely respond

to its order could result in a recommendation that the case be dismissed without

prejudice. Id.

       Ferguson has not responded to the Court’s June 3 Order, either by filing a new

motion to proceed in forma pauperis or by submitting an amended petition.



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 The petition does not clearly identify the conviction being challenged, as noted in the
Court’s Order of June 3, 2025. Doc. No. 3. Ferguson appears to be challenging a 1990
conviction from the Municipal Court of Clinton but references a number of cases. In
addition, the claims for relief (e.g., ground one is “Illicit drug networks; customs and border
protection,” ground two is “Legal Notice 10-26-24,” and ground three is “Hard-Headed’
Industrial Strategy”) do not amount to valid habeas corpus claims.
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Additionally, there is no evidence of record indicating that Ferguson did not receive

the Court’s June 3 order or that her address has changed. Under these circumstances,

the Court concludes and recommends that Ferguson’s petition for writ of habeas

corpus should be dismissed without prejudice for failure to comply with Local Rule

5.5(c)(2). See Miller v. Benson, 51 F.3d 166, 168 (8th Cir. 1995) (District courts

have inherent power to dismiss sua sponte a case for failure to prosecute, and

exercise of that power is reviewed for abuse of discretion).

      Pursuant to 28 U.S.C. § 2253 and Rule 11 of the Rules Governing Section

2554 Cases in the United States District Court, the Court must determine whether

to issue a certificate of appealability in the final order. In § 2254 cases, a certificate

of appealability may issue only if the applicant has made a substantial showing of

the denial of a constitutional right. 28 U.S.C. § 2253(c)(1)-(2). The Court finds no

issue on which petitioner has made a substantial showing of a denial of a

constitutional right. Thus, the Court recommends that the certificate of appealability

be denied.


IT IS SO ORDERED this 10th day of July, 2025


                                         ___________________________________
                                         UNITED STATES MAGISTRATE JUDGE
